Case 1:21-cv-16625-JHR-MJS Document 29 Filed 07/22/22 Page 1 of 3 PageID: 531




                       THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY



 SUN VALLEY ORCHARDS, LLC,

                   Plaintiff,

          v.                                       Case No. 1:21-cv-16625-JHR-MJS

 U.S. DEPARTMENT OF LABOR, et al.,

                   Defendants.


                    DEFENDANTS’ RESPONSE TO PLAINTIFF’S
               ADDITIONAL NOTICE OF SUPPLEMENTAL AUTHORITY
       Plaintiff recently notified this Court of the Supreme Court’s decision in West Virginia

v. EPA, which, Plaintiff says, “supports Sun Valley’s claims that DOL’s agency adjudication
lacks Congressional authorization.” Pl.’s Notice at 1, ECF No. 28. But West Virginia has no

applicability here, and even if it did, Sun Valley’s claim would remain meritless. In West

Virginia, the Supreme Court held that in “certain extraordinary cases,” an agency “must point

to clear congressional authorization for the power it claims,” rather than a “merely plausible

textual basis.” West Virginia v. EPA, 142 S. Ct. 2587, 2609 (2022). Such “extraordinary cases”

involve “major policy decisions” of “economic and political significance” with “assertions of

extravagant statutory power over the national economy,” id. at 2608–09, especially when an

agency “claim[s] to discover in a long-extant statute an unheralded power representing a

transformative expansion in its regulatory authority,” id. at 2610 (citations omitted).

       The Secretary of Labor’s decisions about how to punish individual H-2A violators—

here, a single New Jersey farm—do not come remotely close to the “extraordinary cases”

described by the Supreme Court, like the EPA’s assertion of authority to regulate millions of

sources (such as hotels and office buildings) that emit greenhouse gasses, or OSHA’s assertion

of authority to require 84 million Americans either to obtain a COVID–19 vaccine or undergo


                                               1
Case 1:21-cv-16625-JHR-MJS Document 29 Filed 07/22/22 Page 2 of 3 PageID: 532




weekly medical testing. Id. at 2608–09 (citing Utility Air Regulatory Group v. EPA, 573 U.S.

302 (2014) and NFIB v. OSHA, 142 S. Ct. 661 (2022)). Quite the opposite: the Secretary’s use

of an adjudicatory process for H-2A violations is purely internal to the Labor Department

with no outside effects whatsoever, let alone effects of “economic and political significance”

that impact “the national economy.” Id. And far from discovering “in a long-extant statute

an unheralded power,” id. at 2610, the Labor Department has imposed back wages and pen-

alties through its own adjudications for decades. See Defs.’ Mot. at 1, 15 n.4, ECF No. 22;

Defs.’ Reply at 1, 24, ECF No. 27.

       But even if this case were somehow deemed extraordinary, it wouldn’t matter. As

Defendants have repeatedly explained, Congress clearly gave the Secretary authority to “take

such actions . . . as may be necessary to assure employer compliance with terms and condi-

tions of employment under” the H-2A program, along with authority to “prescribe regulations

for the government of his department” and “the distribution and performance of its business.”

5 U.S.C. § 301; 8 U.S.C. § 1188(g)(2); Defs.’ Mot. at 29–34; Defs.’ Reply at 18–21. Not to

mention that “the formulation of procedures [i]s basically to be left within the discretion of

the agencies to which Congress had confided the responsibility for substantive judgments.”

Vt. Yankee Nuclear Power Corp. v. Nat. Res. Def. Council, Inc., 435 U.S. 519, 524 (1978). So
Plaintiff’s claim that “DOL has pointed to no [ ] clear authorization here” is baseless. Pl.’s

Notice at 2, ECF No. 28.




                                              2
Case 1:21-cv-16625-JHR-MJS Document 29 Filed 07/22/22 Page 3 of 3 PageID: 533




DATED: July 22, 2022                     Respectfully submitted,

                                         BRIAN M. BOYNTON
                                         Principal Deputy Assistant Attorney General

                                         BRAD P. ROSENBERG
                                         Assistant Director, Federal Programs Branch

                                         /s/ Stephen Ehrlich
                                         STEPHEN EHRLICH
                                         Trial Attorney
                                         U.S. Department of Justice
                                         Civil Division, Federal Programs Branch
                                         1100 L Street, NW
                                         Washington, DC 20005
                                         Phone: (202) 305-9803
                                         Email: stephen.ehrlich@usdoj.gov

                                         Attorneys for Defendants




                                     3
